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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-08-103-LKK
12             Plaintiff,             )
                                      )   STIPULATION AND ORDER
13                                    )   RE EVIDENTIARY HEARING AND
          v.                          )   EXCLUDING TIME
14                                    )
     JOHN PHILIP PRUITT, et al.,      )
15                                    )
               Defendant.             )   Hon. Lawrence K. Karlton
16                                    )
17        The parties request that the Evidentiary Hearing in the
18   above referenced case be set for November 5, 2008, with a Trial
19   Confirmation Hearing set for December 16, 2008, and a Jury Trial
20   set for January 13, 2009.    The parties stipulate that the time
21   beginning September 30, 2008, and extending through January 13,
22   2009, should be excluded from the calculation of time under the
23   Speedy Trial Act.    The parties submit that the ends of justice
24   are served by the Court excluding such time, so that counsel for
25   each defendant may have reasonable time necessary for effective
26   preparation, taking into account the exercise of due diligence.
27   18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.        In particular,
28   counsel for each defendant needs time to review the discovery in



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 1   this case, discuss that discovery with their respective clients,
 2   and prepare for both an evidentiary hearing and trial.            The
 3   parties stipulate and agree that the interests of justice served
 4   by granting this continuance outweigh the best interests of the
 5   public and the defendants in a speedy trial.        18 U.S.C. §
 6   3161(h)(8)(A).
                                            Respectfully Submitted,
 7
                                              McGREGOR W. SCOTT
 8                                            United States Attorney
 9
     Dated: October 1, 2008            By:/s/ Michael M. Beckwith
10                                        MICHAEL M. BECKWITH
                                          Assistant U.S. Attorney
11
12   Dated: October 1, 2008            By:/s/ Michael Bigelow
                                           MICHAEL BIGELOW
13                                         Attorney for Defendant
                                           John Phillip Pruitt
14
     Dated: October 1, 2008             By:/s/ John Balazs
15                                         JOHN BALAZS
                                           Attorney for Defendant
16                                         Darryl Anthony Berg
17                                    ORDER
18        The Evidentiary Hearing in case number CR. S-08-103-LKK, is
19   set for November 5, 2008 at 10:00 a.m, Trial Confirmation Hearing
20   is set for December 16, 2008 at 9:15 a.m., and Jury Trial is set
21   for January 13, 2009 at 10:30 a.m., and the time beginning
22   September 30, 2008, and extending through January 13, 2009, is
23   excluded from the calculation of time under the Speedy Trial Act.
24   The Court finds that interests of justice served by granting this
25   continuance outweigh the best interests of the public and the
26   defendants in a speedy trial.     18 U.S.C. § 3161(h)(8)(A).
27   IT IS SO ORDERED.
28
     Dated: October 2, 2008



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